                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF ARKANSAS
                            FAYETTEVILLE DIVISION

FAYETTEVILLE PUBLIC LIBRARY, a political subdivision
in the City of Fayetteville, State of Arkansas;
EUREKA SPRINGS CARNEGIE PUBLIC LIBRARY;
CENTRAL ARKANSAS LIBRARY SYSTEM;
NATE COULTER; OLIVIA FARRELL; HAYDEN KIRBY;
MIEL PARTAIN, in her own capacity and as parent and
next friend of MADELINE PARTAIN; LETA CAPLINGER;
ADAM WEBB; ARKANSAS LIBRARY ASSOCIATION;
ADVOCATES FOR ALL ARKANSAS LIBRARIES;
PEARL’S BOOKS, LLC; WORDSWORTH COMMUNITY
BOOKSTORE LLC d/b/a WORDSWORTH BOOKS;
AMERICAN BOOKSELLERS ASSOCIATION;
ASSOCIATION OF AMERICAN PUBLISHERS, INC.;
AUTHORS GUILD, INC.; COMIC BOOK LEGAL DEFENSE
FUND; and FREEDOM TO READ FOUNDATION                                                     Plaintiffs

                                 Case No. 5:23-cv-05086-TLB

CRAWFORD COUNTY, ARKANSAS;
CHRIS KEITH, in his official capacity as Crawford County Judge;
TODD MURRAY; SONIA FONTICIELLA; DEVON HOLDER;
MATT DURRETT; JEFF PHILLIPS; WILL JONES; TERESA HOWELL;
BEN HALE; CONNIE MITCHELL; DAN TURNER; JANA BRADFORD;
FRANK SPAIN; TIM BLAIR; KYLE HUNTER; DANIEL SHUE;
JEFF ROGERS; DAVID ETHREDGE; TOM TATUM, II; DREW SMITH;
REBECCA REED MCCOY; MICHELLE C. LAWRENCE;
DEBRA BUSCHMAN; TONY ROGERS; JOSHUA ROBINSON;
CAROL CREWS; KEVIN HOLMES; CHRIS WALTON; and
CHUCK GRAHAM, each in his or her official capacity as
a prosecuting attorney for the State of Arkansas.                                     Defendants

                    THE PROSECUTING ATTORNEYS’ RESPONSE TO
            PLAINTIFFS’ INTERROGATORIES AND REQUESTS FOR PRODUCTION

       For their response to the Plaintiffs’ Interrogatories and Requests for Production, the Pros-

ecuting Attorney Defendants answer as follows:
                  Interrogatories and Requests for Production of Documents

        INTERROGATORY NO. 1:                  Please provide the name, address, and telephone num-

ber of each person who aided or consulted in the preparation of the responses of these Interroga-

tories and Requests for Production.

        Answer: The Prosecuting Attorneys answered these interrogatories and requests for pro-

                    duction. They can be contacted through their attorney.

        INTERROGATORY NO. 2:                  Please identify each witness you intend to call at the

trial of this lawsuit or any hearing related to this lawsuit, and for each such witness state the general

subject matter of his or her testimony.

        Answer: The Prosecuting Attorneys object to this interrogatory to the extent it seeks in-

                    formation protected by the work-product doctrine. They also object to the extent

                    it seeks information outside their possession or control. Subject to and without

                    waiving these objections, discovery is ongoing and multiple depositions remain

                    to be taken. Thus, the Prosecuting Attorneys have not decided who to call as

                    witnesses. The Prosecuting Attorneys may call as a witness any party or any

                    person deposed during discovery. The Prosecuting Attorneys reserve the right

                    to amend this answer.

        REQUEST FOR PRODUCTION NO. 1: Please produce each document, record, or

other tangible thing (including, but not limited to, books) that will be introduced at trial or any

hearing related to this lawsuit, or relied upon by each witness identified in your response to Inter-

rogatory No. 2.

        Answer: The Prosecuting Attorneys object to Request No. 1 to the extent it seeks docu-

                    ments protected by the work-product doctrine. They also object to the extent it

                    seeks documents, records, and tangible things outside their possession or
                                                   2
                   control. Subject to and without waiving these objections, discovery is ongoing

                   and multiple depositions remain to be taken. Thus, the Prosecuting Attorneys

                   have not what documents, records, and other tangible things it will introduce.

                   The Prosecuting Attorneys may introduce any document, record, or other tan-

                   gible thing that the parties produce or reference during discovery. The Prose-

                   cuting Attorneys reserve the right to amend this answer.

       INTERROGATORY NO. 3:                 If you are relying on any documents not otherwise

identified in your answers to the preceding interrogatory and request for production, then list and

identify each and every such document and state the name, present address, and telephone number

of the person or persons having custody or possession of those documents.

       Answer: The Prosecuting Attorneys object to Interrogatory No. 3 to the extent it seeks

                   information protected by the attorney-client privilege and work-product doc-

                   trine. They also object to the interrogatory as vague, unduly burdensome, and

                   outside the scope of discovery because it asks for any document the Prosecuting

                   Attorney are relying on for any purpose, whether related to this litigation or not.

                   Subject to the and without waiving these objections, there are no such docu-

                   ments. The Prosecuting Attorneys reserve the right to amend this answer.

       REQUEST FOR PRODUCTION NO. 2: Please produce each document identified in

Interrogatory No. 3.

       Answer: The Prosecuting Attorneys incorporate their response to Interrogatory No. 3.

                   The Prosecuting Attorneys reserve the right to amend this answer.




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       INTERROGATORY NO. 4:                Please identify all documents, including internal and

external correspondence, which you have sent or received, including but not limited to, those

nonprivileged items sent or received by your attorneys, concerning:

       (a)     the present or future enforcement of the Act (including, without limiting the gener-
       ality of the foregoing, any correspondence with a prosecuting attorney or the Attorney
       General of Arkansas referenced in Arkansas Attorney General’s Opinion No. 2023-028);

       (b)    any allegation that a material is “harmful to minors” as defined in Ark. Code Ann.
       § 5-68-501(2); or

       (c)     policies or guidelines concerning identification of a material that would meet the
       definition of “harmful to minors” as defined in Ark. Code Ann. § 5-68-501(2).

       Answer: The Prosecuting Attorneys object to Interrogatory No. 4 to the extent it seeks

                   information protected by the attorney-client privilege or work-product doctrine.

                   The Prosecuting Attorneys object to the interrogatory as confusing to the extent

                   it asks for information related to the “present … enforcement of the Act” be-

                   cause there is no present enforcement; the Act has been preliminarily enjoined.

                   Subject to and without waiving these objections, there are no responsive docu-

                   ments.

       REQUEST FOR PRODUCTION NO. 3: Please produce each document or internal or

external correspondence identified in Interrogatory No. 4.

       Answer: The Prosecuting Attorneys incorporate their response to Interrogatory No. 4.

                   The Prosecuting Attorneys reserve the right to amend this answer.

       INTERROGATORY NO. 5:                Please state whether each of the following books is

“harmful to minors” within the meaning of Section 1 of Act 372 and state the basis for that deter-

mination, including the identity of any experts or sources of authority consulted and all reasoning

leading to that determination. [The 20 books identified by email from Plaintiffs’ counsel on March

28, 2023, are omitted to save space.]

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Answer: The Prosecuting Attorneys object to Interrogatory No. 5 to the extent it seeks

          information protected by the attorney-client privilege or work-product doctrine.

          The Prosecuting Attorneys objects to this interrogatory as unduly burdensome

          to the extent it seeks to require them to read and evaluate the 20 listed books or

          retain experts to do so.



                                     Respectfully submitted,

                                     TIM GRIFFIN
                                     Attorney General


                             By:     /s/ Noah P. Watson
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                                    CERTIFICATE OF SERVICE

          I certify that on April 1, 2024, I e-mailed a copy of the foregoing document to counsel of
record.

                                               /s/ Noah P. Watson
                                               Noah P. Watson




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